  Case 1:18-cv-01288-JTN-ESC ECF No. 10 filed 03/18/19 PageID.49 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

                                                 :
Levi Lamoreau,                                   :
                                                 : Civil Action No.: 1:18-cv-01288-JTN-ESC
                                                 :
                      Plaintiff,                 :
       v.                                        :
                                                 :
Credit Acceptance Corporation,                   :
                                                 :
                      Defendant.                 :
                                                 :


                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: March 18, 2019

                                                     Respectfully submitted,

                                                     By __/s/ Sergei Lemberg____________

                                                     Sergei Lemberg, Esq.
                                                     LEMBERG LAW, L.L.C.
                                                     43 Danbury Road, 3rd Floor
                                                     Wilton, CT 06897
                                                     Telephone: (203) 653-2250
                                                     Facsimile: (203) 653-3424
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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 18, 2019, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court Western District of Michigan
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.


                                             By /s/ Sergei Lemberg
                                                    Sergei Lemberg, Esq.
